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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division

HAROLYNN C. ROBINSON,

                     Appellant,

V.                                               Civil Action No. 3:18cv614-HEH


REALTY INDUSTRIAL LOAN
CORPORATION,

                     Appellee.
                              MEMORANDUM OPINION
                     (Dismissing Appellant's Bankruptcy Appeal)

       THIS MATTER is before the Court on Harolynn C. Robinson's("Appellant")

pro se appeal ofthe Bankruptcy Court's Order Granting Relief from Stay (the "Order"),

which was entered on August 8, 2018. Appellant noticed her appeal on August 24,

2018—^sixteen(16)days following the entry ofthat Order. For the reasons that follow,

this Court will dismiss Appellant's appeal because it was not timely noticed, and

therefore, the Court is without subject-matter jurisdiction to review the Bankruptcy

Court's Order.

       As a preliminary matter, this Court has an obligation to ensure that it has

jurisdiction to hear the cases that come before it. The Court may, accordingly, raise the

issue ofsubject-matter jurisdiction sua sponte at any stage. Arbaugh v. Y&H Corp., 546

U.S. 500,506(2006).

       In general, federal district courts have jurisdiction over direct appeals taken from

the bankruptcy courts. 28 U.S.C. § 158(a). The Federal Rules of Bankruptcy Procedure

provide that "a notice of appeal must be filed with the bankruptcy clerk within 14 days
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after entry ofthe judgment, order, or decree being appealed." Fed. R. Bankr. P.

8002(a)(1).' The timely filing of a notice of appeal is a jurisdictional requirement, and

failure to make such a filing deprives a district court ofjurisdiction to review the

judgment or order ofthe bankruptcy court. See Smith v. Dairymen, Inc., 790 F.2d 1107,

1110-11 (4th Cir. 1986)(concluding that the district court lacked jurisdiction to review

the bankruptcy court's judgment in the absence of a timely notice of appeal); see also In

re Stagecoach Utils., Inc., 86 B.R. 229, 230(B.A.P. 9th Cir. 1988)(stating in the context

of a bankruptcy appeal that "[a] timely notice of appeal is jurisdictional and the court

may consider the timeliness ofthe appeal sua sponte^)?
        As stated above,the Order that Appellant seeks to appeal was entered on

August 8,2018. Appellant filed her notice of appeal on August 24, 2018—sixteen(16)

days after the entry ofthe Order. In addition. Appellant has not filed any motion

pursuant to Fed. R. Bankr. P. 8002(b), which may have extended the time for filing her

notice of appeal in this case. Consequently, this Court is without subject-matter

jurisdiction to review the Bankruptcy Court's Order, and the matter will be dismissed.

'The time for filing a notice of appeal may be extended ifa party files certain motions with the
bankruptcy court. See Fed. R. Bankr. P. 8002(b). Here, Appellant has not filed any motion that would
extend the fourteen-day timeline established in subsection(a)ofthe Rule. The Court notes that Appellant
has likewise failed to designate items for the record on appeal,see Fed. R. Bankr. P. 8009, and
furthermore. Appellant has also failed to file an opening brief as required by Fed. Rs. Bankr. P. 8014 and
8018.


^ This Court recognizes that both Dairymen, Inc. and Stagecoach Utils., Inc. were decided under previous
versions ofFed. R. Bankr. P. 8002, which required a notice of appeal to be filed within ten(10)days of
thejudgment to be appealed. See Fed. R. Bankr. P. 8002(1986); Fed. R. Bankr. P. 8002(1987).
Nevertheless, even under the current version ofthe Rule, which has extended the period oftimely filing to
fourteen(14)days,the requirement continues to be jurisdictional. See, e.g., Wilson v. Moss,No.5:15-
2230-MBS,2015 U.S. Dist. LEXIS 90898, at *2(D. S.C. July 13,2015)(dismissing the matter because
the notice of appeal was filed 33 days after the bankruptcy court'sjudgment); O'Keefe v. Wolff, No. GJH-
 14-3829,2015 U.S. Dist. LEXIS 7928, at *2-4(D. Md. Jan. 23, 2015)(notice of appeal filed 31 days
afterjudgment);see also Hinton v. Va. Union Univ., 185 F. Supp. 3d 807, 824(E.D. Va. 2016)(stating
that unpublished opinions, while not binding precedent, are nevertheless persuasive authority).
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      An appropriate order will accompany this Memorandum Opinion.



                                                         /si
                                           Henry E. Hudson
                                           Senior United States District Judge

Richmond, Virginia
